 1                                                                          Honorable Brian D. Lynch
                                                                                           Chapter 7
 2
                                                                                   Location: Tacoma
 3
                                UNITED STATES BANKRUPTCY COURT
 4                              WESTERN DISTRICT OF WASHINGTON
 5
      In re:                                            No. 19-41061
 6
      ROY MCKAGUE,
 7
 8                                   Debtor.

 9    KATHRYN A. ELLIS, as Trustee for the              Adv. No.
      estate of Roy McKague,
10                                                      COMPLAINT TO RECOVER POST-
11                                   Plaintiff,         PETITION AVOIDABLE TRANSFER

12    vs.

13    KITSAP CREDIT UNION, a credit union
      chartered and doing business in the State of
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      Washington,
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                                     Defendant.
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17             COMES NOW the Plaintiff, Kathryn A. Ellis, duly appointed and acting Trustee in the
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     above referenced matter, by and through the undersigned attorney, and states and alleges as
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     follows:
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21                                  I. PARTIES AND JURISDICTION

22             1.     Plaintiff. Roy McKague filed a Chapter 7 Bankruptcy Petition on or about April

23   3, 2019. Kathryn A. Ellis is the duly appointed and acting Chapter 7 Trustee of such estate.
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               2.     Defendant. The Defendant, Kitsap Credit Union, is a credit union chartered and
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     doing business in the State of Washington.
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               3.     This adversary proceeding is one arising in the Chapter 7 case of the above named
27
                                                                              KATHRYN A. ELLIS PLLC
28                                                                                   5506 6th Ave S
                                                                                        Suite 207
     COMPLAINT TO RECOVER                                                          Seattle, WA 98108
     POST-PETITION AVOIDABLE TRANSFER - 1                                           (206) 682-5002
 1   debtor now pending in this Court. This Court has jurisdiction over this adversary proceeding
 2
     pursuant to 28 U.S.C. §§ 157, 1334 and 11 U.S.C. §§ 549 and 550. This is a core proceeding
 3
     under 28 U.S.C. § 157 (b)(2)(A), (E), (H) and (O).
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                                                     II. FACTS
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 6           4.     On or about March 4, 2019, Roy McKague, debtor herein, purchased a 2013

 7   Honda Civic, VIN No. 19XFB2F80DE202668, from Toyota of Olympia, and financed by Kitsap

 8   Credit Union, Defendant herein. The debtor was given possession of the vehicle on March 4,
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     2019 and the lien was not perfected until April 5, 2019, more than thirty days later and post-
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     petition.
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             5.     The vehicle is property of the debtor’s estate pursuant to 11 U.S.C. § 541 and has
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13   not been abandoned by Plaintiff.

14           6.     The recording of a lien against the vehicle on April 5, 2019 transferred a security

15   interest in the property to secure repayment of the sum of $15,153.95 (hereinafter referred to as
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     “Transfer”).
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             7.     The Transfer of a security interest in the vehicle above referenced was not
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     authorized under this title or by this Court.
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20           8.     On or about May 9, 2019, Plaintiff made demand upon Defendant to return the

21   Transfer above referenced and Defendant has refused.
22           9.     Defendant was the initial transferee of the Transfer or the entity for whose benefit
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     the Transfer was made, or is the immediate or mediate transferee of the initial transferee
24
     receiving such or any Transfer.
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             10.    Pursuant to 11 U.S.C. § 550 (a), Plaintiff is entitled to avoid the transfer of the
26
27
                                                                                KATHRYN A. ELLIS PLLC
28                                                                                      5506 6th Ave S
                                                                                           Suite 207
     COMPLAINT TO RECOVER                                                             Seattle, WA 98108
     POST-PETITION AVOIDABLE TRANSFER - 2                                              (206) 682-5002
 1   security interest in the property above referenced from the debtor to Defendant.
 2
               11.        Pursuant to 11 U.S.C. § 551, the Transfer avoided pursuant to 11 U.S.C. § 549 is
 3
     preserved to the benefit of the estate.
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               WHEREFORE, the Plaintiff prays for judgment as follows:
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 6             a)         For an order avoiding the unauthorized post-petition lien pursuant to 11 U.S.C. §

 7   549 in the 2013 Honda Civic;

 8             b)         For judgment against Defendant in the amount of $15,153.95;
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               c)         For interest from the date of transfer, plus costs and reasonable attorney’s fees;
10
     and
11
               d)         For such further relief as the Court deems just in the premises.
12
13             DATED this 12th day of June, 2019.

14
                                                                              /s/ Kathryn A. Ellis
15                                                                            Kathryn A. Ellis, WSBA #14333
                                                                              Attorney for Plaintiff
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